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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

TEXAS BRINE COMPANY, LLC                                             CIVIL ACTION

VERSUS                                                               NO.       15-1102 c/w
                                                                               15-3324

DOW CHEMICAL COMPANY, ET AL.                                         SECTION "N" (1)

                                    ORDER AND REASONS

               Presently before the Court are two summary judgment motions filed by Defendants.

See Rec. Docs. 300 and 303. Having carefully reviewed the parties' submissions, the record in this

matter, and applicable law, the Court rules on the motions as stated herein.

               (1) IT IS ORDERED that Defendants' "Motion for Summary Judgment" (Rec. Doc.

300) is GRANTED IN PART and DENIED IN PART. With respect to the claims asserted by

Louisiana Salt, LLC ("Louisiana Salt"), the motion is granted. As set forth in the February 7, 2018

Order and Reasons (Rec. Doc. 423), the Court previously rejected Plaintiffs' assertion that the

continued existence of the Dow 18 cavern "wing" resulting from Dow's solution-mining operations,

which ceased in 2010, constitutes a continuing tort. And, because Texas Brine Company, LLC

("TBC"), not Louisiana Salt, owned the immovable property at issue during the time that Dow's

solution mining operations created the Dow 18 cavern wing, and TBC has not assigned its legal

rights relative to those operations, the subsequent purchaser doctrine deprives Louisiana Salt of any

direct right of recovery against Dow relative to the cavern wing's subsurface trespass. Finally,

though Dow's ongoing pressure monitoring operations have continued during Louisiana Salt's
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ownership, the Court has not been presented with any evidence of additional damage caused by that

particular conduct. Accordingly, Louisiana Salt's claims against Defendants are dismissed with

prejudice.

               With respect to TBC, however, the motion is denied. In short, the Court is not

presently convinced that TBC's receipt of cash consideration totaling $4,100,000, upon its transfer

of the property at issue to Louisiana Salt, fully compensated it, as a matter of law, for the damages

it asserts relative to Dow 18's solution mining operations. This ruling is, of course, without

prejudice to a contrary determination by the Court, at the close of the evidence at trial,1 that TBC

has failed to adequately demonstrate that the $4,060,000 appraised market value amount attributed

to the property in December 2014 actually is not a proper valuation of the property's surface and

mineral deposits, as of the pertinent time period, taking into account all relevant market conditions

and the property's future earning potential.2 This ruling is likewise not determinative of the impact

that the Court's resolution of Dow's several pending motions to strike or exclude testimony (Rec.

Docs. 317, 407, 408, 411, 414, 417, and 434) might have.




       1
               See Fed. R. Civ. P. 50(a).
       2
               The December 10, 2014 appraisal was completed, at TBC's request, by Truax and
Robles Appraisers, LLC. See Rec. Doc. 300-10; see also Rec. Docs. 300-8, 300-9, and 300-11
(Affidavit of Norbert F. Schexnayder, Jr., ARA, and his related November 2, 2017 review of and
opinion regarding the December 10th appraisal).

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               (2) For essentially the same reasons set forth in connection with the foregoing ruling,

and with the same reservations regarding other pending motions, IT IS FURTHER ORDERED

that Defendants' "Motion for Partial Summary Judgment on Lost Profits" (Rec. Doc. 303) is likewise

DENIED IN PART (as to TBC) and GRANTED IN PART (as to Louisiana Salt).

                New Orleans, Louisiana, this 28th day of February 2018.



                                              ___________________________________
                                              KURT D. ENGELHARDT
                                              UNITED STATES DISTRICT JUDGE



Clerk to Copy:

Magistrate Judge Janis van Meerveld




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